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8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA
10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 17-00638-PSG

13             Plaintiff,                    STIPULATION REGARDING REQUEST FOR
                                             (1) CONTINUANCE OF TRIAL DATE AND
14                  v.                       (2) FINDINGS OF EXCLUDABLE TIME
                                             PERIODS PURSUANT TO SPEEDY TRIAL
15   ALEXANDER TORO HERNANDEZ,               ACT

16             Defendant.                    CURRENT TRIAL DATE:
                                             March 6, 2018
17                                           [PROPOSED] TRIAL DATE:
                                             May 22, 2018
18
                                             CURRENT STATUS CONFERENCE DATE:
19                                           February 19, 2018
                                             [PROPOSED] STATUS CONFERENCE DATE:
20                                           May 7, 2018
21                                           [PROPOSED] MOTION SCHEDULE:
                                             Motions Due: April 9, 2018
22                                           Oppositions Due: April 16, 2018
                                             Replies Due: April 30, 2018
23

24       Plaintiff United States of America, by and through its counsel
25   of record, the United States Attorney for the Central District of
26   California and Assistant United States Attorney Roger A. Hsieh, and
27   defendant ALEXANDER TORO HERNANDEZ (“defendant”), both individually
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1    and by and through his counsel of record, Victor Sherman, hereby

2    stipulate as follows:

3        1.    The Indictment in this case was filed on October 6, 2017.

4    Defendant first appeared before a judicial officer of the court in

5    which the charges in this case were pending on September 26, 2017.

6    The Speedy Trial Act, 18 U.S.C. § 3161, originally required that the

7    trial commence on or before December 15, 2017.

8        2.    On October 18, 2017, the Court set a trial date of December

9    12, 2017, a status conference date of November 27, 2017, and a motion
10   schedule as follows: motions to be filed on October 30, 2017;

11   oppositions to be filed on November 6, 2017; and replies to be filed

12   on November 20, 2017.

13       3.    Defendant is detained pending trial. The parties estimate

14   that the trial in this matter will last approximately three days.

15       4.    The Court has previously continued the trial date in this

16   case from December 12, 2017, to March 6, 2018, and found the interim

17   period to be excluded in computing the time within which the trial

18   must commence, pursuant to the Speedy Trial Act.

19       5.    By this stipulation, defendant moves to continue the trial
20   date to May 22, 2018, the status conference date to May 7, 2018, and

21   the motion schedule as follows:      motions to be filed on or before

22   April 9, 2018; oppositions to be filed on or before April 16, 2018;

23   and replies to be filed on or before April 30, 2018.          This is the

24   second request for a continuance.

25       6.    Defendant requests the continuance based upon the following

26   facts, which the parties believe demonstrate good cause to support
27   the appropriate findings under the Speedy Trial Act:

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1              a.    Defendant is charged with a violation of 21 U.S.C.

2    §§ 841(a)(1), (b)(1)(B)(i) (distribution of at least 100 grams of a

3    mixture containing heroin) and 21 U.S.C. § 841(a)(1), (b)(1)(A)(i)

4    (possession with intent to distribute at least one kilogram of a

5    mixture containing heroin ).      The government has produced over 1200

6    pages of discovery to the defense, including investigative reports,

7    photographs, interview notes, returns from GPS and cell phone search

8    warrants, and IP address information related to specific United

9    States Postal Service tracking numbers.       The government has also
10   produced surveillance video and an audio recording on an interview

11   with defendant.

12             b.    Defense counsel represents that he is presently

13   scheduled to be in the following upcoming criminal trials in this

14   court and in state court: (1) People v. Xu, CIVDS 1724933 (San

15   Bernardino Superior Court), currently set for trial on February 23,

16   2018; (2) United States v. Nersoyan, CR 17-325-GW, currently set for

17   trial on February 27, 2018; (3) United States v. Martinez, 17-CR-

18   00107-ODW, currently set for trial on March 6, 2018; (4) United

19   States v. Kenneth Goucher, 07-CR-1402-SJO, currently set for trial on
20   March 27, 2018; (5) United States v. Ambriz, CR 17-00106-PSG,

21   currently set for trial on April 3, 2018; and (6) United States v.

22   Azarian, 17-CR-00421-DMG, currently set for trial on April 10, 2018.

23   Accordingly, counsel represents that he will not be available to try

24   this case on the current trial date.

25             c.    In light of the foregoing, counsel for defendant also

26   represents that additional time is necessary to confer with
27   defendant, conduct and complete an independent investigation of the

28   case, conduct and complete additional legal research including for

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1    potential pre-trial motions, review the discovery and potential

2    evidence in the case, and prepare for trial in the event that a

3    pretrial resolution does not occur.       Defense counsel represents that

4    failure to grant the continuance would deny him reasonable time

5    necessary for effective preparation, taking into account the exercise

6    of due diligence.

7              d.    Defendant believes that failure to grant the

8    continuance will deny him continuity of counsel and adequate

9    representation.
10             e.    The government does not object to the continuance.

11             f.    The requested continuance is not based on congestion

12   of the Court’s calendar, lack of diligent preparation on the part of

13   the attorney for the government or the defense, or failure on the

14   part of the attorney for the government to obtain available

15   witnesses.

16       7.    For purposes of computing the date under the Speedy Trial

17   Act by which defendant’s trial must commence, the parties agree that

18   the time period of March 6, 2018, to May 22, 2018, inclusive, should

19   be excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A), (h)(7)(B)(i), and
20   (h)(7)(B)(iv) because the delay results from a continuance granted by

21   the Court at defendant’s request, without government objection, on

22   the basis of the Court’s finding that:       (i) the ends of justice

23   served by the continuance outweigh the best interest of the public

24   and defendant in a speedy trial; (ii) failure to grant the

25   continuance would be likely to make a continuation of the proceeding

26   impossible, or result in a miscarriage of justice; and (iii) failure
27   to grant the continuance would unreasonably deny defendant continuity

28   of counsel and would deny defense counsel the reasonable time

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1    necessary for effective preparation, taking into account the exercise

2    of due diligence.

3          8.   Nothing in this stipulation shall preclude a finding that

4    other provisions of the Speedy Trial Act dictate that additional time

5    periods be excluded from the period within which trial must commence.

6    Moreover, the same provisions and/or other provisions of the Speedy

7    Trial Act may in the future authorize the exclusion of additional

8    time periods from the period within which trial must commence.

9          IT IS SO STIPULATED.
10   Dated: February 12, 2018            Respectfully submitted,

11                                       NICOLA T. HANNA
                                         United States Attorney
12
                                         LAWRENCE S. MIDDLETON
13                                       Assistant United States Attorney
                                         Chief, Criminal Division
14

15                                            /s/
                                         ROGER A. HSIEH
16                                       Assistant United States Attorney

17                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
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 1           I am ALEXANDER TORO HERNANDEZ's attorney.                   I have carefully
 2   discussed every part of this stipulation and the continuance of the
 3   trial date with my client.                    I have fully informed my client of his
 4   Speedy Trial rights.                    To my knowledge, my client understands those
 5   rights and agrees to waive them.                       I believe that my client's decision
6    to give up th� right to be brought to trial earlier than May 22,
 7   2018, is an informed and voluntary one.
 8

 9   VICTOR��-                                                   Date
     Attorney for Defendant
10   ALEXANDER TORO HERNANDEZ
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13   1��,;:�y_��fCi'::�!¥�:;�.·   and.   I    have carefully discussed every p�rt of it       with

14   my attorney.          I understand my Speedy Trial rights.               I voluntarily
15                                                 the trial date, and give up my right to
16                          rial earlier than May
17
18                          HERNANDEZ
19
20
21                                       CERT:IFICATJ:ON OF INTERPRETER
22           I,   -------------- ,                             am fluent in the written and
23   spoken English and Spanish languages.                       I accurately translated this
24   entire agreement from English into Spanish to defendant ALEXANDER



                    � �r
                  t:A
25   TORO HERNANDEZ on this date.
26
27                                                               Date
28    INTERPRETER
                                                        6
